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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------X
  PLAINTIFFS #1-21, individually and on :
  behalf of all others similarly situated,              :
                                                        :
                             Plaintiffs,                :
                                                        :
                    v.                                  : ORDER
                                                        : 15-CV-2431 (WFK) (LB)
  THE COUNTY OF SUFFOLK, et al.,                        :
                                                        :
                             Defendants.                :
  -----------------------------------------------------X
  WILLIAM F. KUNTZ, II, United States District Judge:

         The Court has reviewed the parties’ proposed pretrial scheduling order, ECF No. 324,

  and hereby sets the following amended schedule:

      • The joint pre-trial order is due by Friday, April 29, 2022 at 5:00 P.M.

      • Motions in limine and Daubert motions are due by Friday, May 27, 2022 at 5:00 P.M.

      • Proposed voir dire, jury instructions and verdict sheet are due by Friday, July 1, 2022 at

          5:00 P.M.

      • Opposition to motions in limine and Daubert motions are due by Friday, July 15, 2022 at

          5:00 P.M.

      • Objections to proposed voir dire, jury instructions and verdict sheet are due by Friday,

          July 22, 2022 at 5:00 P.M.

      • Pre-trial memorandum, if any, and damages statements are due by Friday, July 29, 2022

          at 5:00 P.M.

         The final pretrial conference is hereby SCHEDULED for Monday, August 1, 2022 at

  12:00 Noon. A three-week trial will commence on August 15, 2022 in Courtroom 6H North

  before the Honorable William F. Kuntz, II.
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                                           SO ORDERED.

                                               s/ WFK
                                           _____________________________
  Dated: August 23, 2021                   HON. WILLIAM F. KUNTZ, II
         Brooklyn, New York                UNITED STATES DISTRICT JUDGE
